993 F.2d 229
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Horace Anthony THOMPSON, Defendant-Appellant.
    No. 93-6102.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  March 29, 1993Decided:  April 27, 1993
    
      Appeal from the United States District Court for the District of South Carolina, at Greenville.  Henry M. Herlong, Jr., District Judge.  (CR-92-138-6)
      Horace Anthony Thompson, Appellant Pro Se.
      William Corley Lucius, Assistant United States Attorney, Greenville, South Carolina, for Appellee.
      D.S.C.
      AFFIRMED.
      Before LUTTIG, Circuit Judge, and BUTZNER and CHAPMAN, Senior Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Horace Anthony Thompson appeals from the district court's order that denied his motion for modification of his sentence under 18 U.S.C.A. § 3582(c)(2) (West Supp. 1992).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Thompson, No. CR-92-138-6 (D.S.C. Jan. 7, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    